            Case 1:21-cv-00153-LY Document 11 Filed 04/09/21 Page 1 of 2



                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS

 SYMBOLOGY INNOVATIONS, LLC,
                                                     Civil Action No.: 1:21-cv-00153-LY
              Plaintiff,

       v.                                            TRIAL BY JURY DEMANDED

 THEHOMEMAG HOLDING COMPANY,
 LLC,

              Defendant.

              NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Now comes Plaintiff, Symbology Innovations, LLC, by and through its counsel, pursuant

to Fed. R. Civ. P. 41(a)(1)(i), and hereby voluntarily dismisses all of the claims asserted against

Defendant TheHomeMag Holding Company, LLC in the within action WITHOUT PREJUDICE.

TheHomeMag Holding Company, LLC has not served an answer or a motion for summary

judgment.

Dated: April 9, 2021                                 Respectfully submitted,

Jay Johnson                                          SAND, SEBOLT & WERNOW CO., LPA
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                                                     ATTORNEYS FOR PLAINTIFF
          Case 1:21-cv-00153-LY Document 11 Filed 04/09/21 Page 2 of 2




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document

has been served on April 9, 2021 to all counsel of record who are deemed to have consented to

electronic service via the Court’s CM/ECF system.


                                                    /s/ Andrew S. Curfman
                                                    Andrew S. Curfman




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